
OPINION OF THE COURT
PER CURIAM.
We reverse the conviction below which was based upon the guilty plea of the Appellant/Defendant entered by him without counsel.
We find that there was no compliance with Rule 3.170(j) or Rule 3.172, Rules of Criminal Procedure, in that there is no basis in the record to conclude that the defendant entered his plea fully under*181standing the significance of the plea, that it was voluntary and that there was a factual basis for the plea of guilty.
Accordingly, the Judgment and Sentence below is reversed and the case is remanded with instructions to allow the defendant to withdraw his plea of guilty and proceed to trial.
REVERSED AND REMANDED WITH DIRECTIONS.
